    TRANSCRIPT ORDER FORM {DKT-13) - READ INSTRUCTIONS ON LAST PAGE BEFORE COMPLETING
                   Case 4:18-cv-02869 Document 109 Filed on 01/23/20 in TXSD Page 1 of 1
District Court Souther District of Texas                           District Court Docket No. ~--'-''--"---'c.=-c'"--'--'.
                                                                                              4:18-cv-02869_                _ _ __ _ _ __        _


Short Case Title John Hancock Life Ins. Co. v . Estate ofJennifer Lauren Wheatley
ONLY ONE COURT REPORTER PER FORM Court Reporter ~ Jo_h_n_n~y_S_a_n_ch_e_z_ _ __ _ _ __ _ _ _ __ _

Date Notice of Appeal Filed in the District Court 01 / 10 / 202(                       Court of Appeals No. _ 20_-_2_0_0_1_9 _ _ _ __ _

PART I. (To be completed by party ordering transcript . .Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)
A. Complete the Following:
□ No    hearings □ Transcript is unnecessary for appeal purposes □ Transcript is already on file in t_he Clerk's Office
 OR
 Check all of the following that apply, include date of the proceeding.
 This is to order a transcript of the following proceedings: □ B ail Hearing _ _ _ _ _ _ _ □ Voir Dire _ _ _ _ _ __
D Opening Statement of Plaintiff _ __ __ _ _ D Opening Statement of Defendant _ _ _ __ _ _
D Closing Argument of Plaintiff___ __ _ _ D Closing Argument of Defendant: _ __ _ __ _
D Opinion of court_____ _ _ □ Jury Instructions _ _ _ _ __ _ D Sentencing _ _ _ __ _ _
0 t h er procee d.mgs not l'1ste d a bove :
 Hearing Date(s) Proceeding                                                            Judge/Magistrate
 06 / 12/ 2019         Motion     H  earing                                            Keith P. E llison



Failure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript. are grounds for DISMISSAL OF APPEAL.
B. This is to certify satisfactory financial arrangements have been made. Method of Payment:
D>Private Funds;    □ Criminal Justice Act Funds (Enter Authorization-24 via eVoucher) ;
□ Other IFP Funds;     □ Advance Payment Waived by Reporter ;   □ U . S . Government Funds

□ Other   _ __ _ _ _ _ __ __ _ _ _ _ __ _ __ _ _ _ _ __ _ _ _ _ _ __ _ _ _ _ _ _ _ _ __


Signature    M           ~                                                        Date Transcript Ordered--=-
                                                                                                           01=---/'----'2=3'--'--/-=2=0=20= --------
Print Name Bob Ma~                                                                Phone      (936) 494-1393
Counsel for Jeremy G. Ward and Annie Hall
Address Bob Mabry Atttorney at Law PLLC, 704 N. Thompson St. Ste. 157, Conroe TX 77301 -2600
Email of Attorney: Bob@ mabryappealslaw.com
••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
PART II. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)
 Date Transcript Order        Date Satisfactory Arrangements        Estimated Completion Date Estimated Number of
 Received                     for Payment were Made                                           Pages

Payment arrangements have NOT been made or are incomplete.
Reason:    □ Deposit   not received   □ Unable   to contact ordering party   □ Awaiting     creation of CJA 24 eVoucher

                  □ Other (Specify) - - - - - - - -- - - - - -- - - - - - - -- - - -- - - - - -- -

Date _ _ _ _ _ ____ Signature of Reporter _ _ _ _ __ _ _ _ _ _ __ _ _ _ __ _Tel. _ _ _ _ _ __ _ _

Email of Reporter - - - - - - - - - - - - - - - -- - - - - - - -- -- - - - - - - - - - -- - - --
••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by
court reporter on date of filing transcript in the District Court. This completed form is to be-filed with the Court of Appeals.)

          This is to certify that the transcript has been completed and filed at the District Court today.

          Actual Number of Pages _ __ _ _ _ _ _ _ _ __                          Actual Number of Volumes._ _ _ _ _ __ _ __

Date ____________ Signature of Reporter _ _ _ _ _ _ __ _ _ _ _ _ _ _ __ _ _ _ _ __ _ __
